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                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF WYOMING


    THE TRIAL LAWYERS COLLEGE, a
    nonprofit corporation,

                                     Plaintiff,
    vs.                                                       Case No: 1:20-CV-00080-JMC

    COLLEGE AT THUNDERHEAD
    RANCH, a nonprofit corporation;
    GERALD L. SPENCE; JOHN ZELBST;
    REX PARRIS; JOSEPH H. LOW; and
    KENT SPENCE,

                                 Defendants.

          REPORT AND RECOMMENDATION ON
                             CONTEMPT




10, 2020. Plaintiff then filed a Supplemental Memorandum in Support [Doc. 53] on July

13, 2020. Defendants filed their Response [Doc. 57] on July 24, 2020, and Plaintiff filed

a Reply [Doc. 59] on July 31, 2020. Much later, Plaintiff filed a Second Supplemental

Memorandum in Support [Doc. 72] on August 17, 2020. An evidentiary hearing was held

on August 20, 2020. ECF_64. Being now fully advised as to the premises of the Motion,

the undersigned judge reports and recommends the following. 1


1
 Subject to a few exceptions, where there is an act constituting civil contempt and the magistrate judge is not presiding
by consent of the parties, the magistrate judge shall certify the facts to a district judge. 28 U.S.C. § 636(e)(6)(B)(iii)
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                                  PROPOSED FINDINGS OF FACT

    1.

         Defendants had, and were continuing to, infringe on two federally registered

         trademarks held by TLC. ECF_1, ¶¶ 61 73.

    2. Due to the alleged Mark infringement, TLC filed a motion for a Temporary

         Restraining Order                  . ECF_2. The Court granted the TRO on May 26, 2020.

         ECF_26 27.

    3. TLC also filed a motion for a Preliminary Injunction. ECF_29. That Motion was



         evidence leading up to the Memorandum Opinion and Order Granting in Part and



         addressed several signs bearing the TLC federally registered trademarks that were

         displayed at or on the road abutting Thunderhead Ranch. ECF_46 at 15 16. This

         dispute, in part, regards a sign hanging from an arch on Thunderhead Ranch and




(2018). With regard to a motion for contempt pursuant to an alleged violation of a temporary restraining order or
preliminary injunction, caselaw supports the conclusion that a magistrate judge must only issue a Report and
Recommendation R & R on such a motion, and the motion should not be directly referred to the magistrate judge.

R regarding a motion requesting damages for civil contempt); Dozier v. Aaron Sales & Lease Ownership for Less,
No. 06-CV-570-JHP-
a United States Magistrate Judge generally does not have power to hold a party in civil contempt and must certify acts
                                                                                        , No. 1:07-CV-1033, 2012 WL
463756, at *2 (W.D. Mich. Feb. 13, 2012) (noting the district court erred in referring the subject motion for contempt
                                                                                                                 Axiom
Res. Mgmt., Inc. v. Alfotech Sols., LLC, No. 1:10cv1011 (LMB/JFA), 2011 WL 2559806, at *1 (E.D. Va. June 27,

failure to comply with the terms of a temporary restraining order and preliminary injunction). Hence, the undersigned
is filing this as an R & R not a final order.

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   noted that Defendants had

   arch as soon as th

4. The sign at issue is permanently bolted to the top of the wooden archway at the

   entrance of Thunderhead Ranch. ECF_57-2 at 3. The artwork at issue is a wooden

   sculpture affixed to the side of the main barn on the property. Id. The items in

   question were both installed as permanent fixtures at Thunderhead Ranch. Id. Both

   infringing items are large, heavy, and approximately fifteen to twenty feet above the

   ground. Id. A professional contractor is needed to remove the fixtures, and the

   process requires professional equipment. Id.

5. On June 11, 2020     which was after the TRO was granted but before the Preliminary

   Injunction was granted in part    at least one Defendant, Defendant Kent Spence,

   was present at Thunderhead Ranch with at least one TLC alumnus while the

   infringing signs were hanging. ECF_52-2 at 1; ECF_52-2 at 4.

6. As of June 27, 2020, ten days after the Court expressly required Defendants to take

   down these subject infringing items,

                                                                       -1.

7. On July 3, 2020, during an email conversation within the                      s Trial

                         tserv regarding the mission and purpose of GSTI, Defendant

   Parris asked one alumnus if he                                  go about identifying

                                                                -2 at 9 10.

8. Defendant Parris also posted to the GSTI



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                                                                                 -2 at 12.

   On the same date, Defendant Parris wrote t




   GSTI. Id. It is only the name of this listserv until the court, or the federal or state

                                                                                   Id.

9. On

                                                              ail complaining about the

   present Motion. ECF_53-

   not be gagged, I will not be frightened into submission, and I sure as hell will never

                                              Id. at 2.

10. Also on July 11, 2020, Defendant Parris emailed two notices of a special board

   meeting, claiming that the board meeting was being held pursuant to the TLC

   Bylaws. ECF_53-2 at 1; ECF_53-3 at 1. One                               [a]s everyone

   knows, we are pressing ahead on our claim that we remain on the Board of TLC,

   and this is disputed by some board members.             _53-3 at 1. That email also

   listed certain defendants, Kent Spence, Rex Parris, Gerry Spence, Joseph Low, and

   John Zelbst, as still holding offices with TLC. Id. at 2. Another email from the

                      a]s everyone knows, we are pressing ahead on our claim that we

   are the legitimate Board of TLC. Everyone also knows that this is disputed by some

   board members who we refer to as the Sloan Group. Nonetheless, we are the

   majority of the lawfully elected board members               -4 at 1.

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11. On July 13, 2020, John Sloan   the president of TLC    sent Defendants Rex Parris,

   Gerry Spence, Kent Spence, Joseph Low, and John Zelbst a letter noting that

   Defendants were no longer on the TLC Board of Directors and there was no

   authorization or approval of the notice of a special board meeting. ECF_57-1 at 2.



   Preliminary Injunction. Id. at 3.

12. As of July 16, 2020,

   2020, of

   Defendant Low used ladders to position and secure tarps over the two infringing

   items. ECF_57-2, ¶ 4, 7 12. Although Defendant Low testified that it is a difficult

   and lengthy process to get professionals to come to Thunderhead Ranch for

   maintenance, Defendants presented no evidence of having attempted to contact a

   professional to take down the infringing signs. According to the evidence presented,

   Defendant Low only made efforts to cover the infringing items after the Motion for

   Contempt was filed.

13. On July 24, 2020, Haytham Faraj    a TLC alumnus and former faculty member

   posted an email claiming that GSTI was not running any programs through a

   competing trial skills program called

   another TLC alumnus. ECF_72-1 at 1, 4. However, that same TLC alumnus, Mr.

   Daniel Ambrose,

   Defendants Low and Parris have been featured in advertising for Trial Lawyers

   University. Id. at 2, 5, 8. Defendant Parris promoted a webinar by Defendant Low

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      in an email to the GSTI listserv on July 24, 2020. ECF_72-1 at 2, 9. He also wrote

      that he hoped the alumnus                                                   the Sloan

                                            Id. at 9. Although witnesses testified to their

      concern regarding the timing of the emergence of Trial Lawyers University, no

      witnesses definitively indicated they had any personal knowledge of an affiliation

      between Trial Lawyers University and Defendants.

14. During the evidentiary hearing on August 20, 2020, Ms. Maren Chaloupka and Mr.

      James R. Clary, Jr. testified on behalf of Plaintiff. These witnesses testified

      regarding the exhibits admitted into the record through Plaintiff s briefings.

      ECF_73 at 2.

15. In the evidentiary hearing, Defendants called Mr. Daniel Ambrose, the alumnus who

      started Trial Lawyers University, Mr. Joseph Low, and Mr. Rex Parris. These

      witnesses testified in reference to Defendants briefing and exhibits. Id.

16.                          Order

      at Thunderhead Ranch, Gerald Spence, Rex Parris, and Joseph Low were restrained

      and enjoined pursuant to                                              or Preliminary

      Injunction.

17. As to the specific acts enjoined, the Court concluded that Defendants needed to

      remove the artwork at issue, even though Defendants maintained they did not need

      to do so since

      which had been registered in the Wyoming Brand book before Plaintiff registered

                                          16.   The Court noted that Defendants never

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      contended they ran cattle on the ranch and, if they did run cattle they would not be



      considering their plans to run a competitor trial institute on the land, the artwork

      could no longer be displayed. Id.

18.



                                   ss and until such time as the state court makes a ruling

                       Id. at 6.

19. Further, the Court specifically ordered that:




              such time as the state court makes a ruling to that effect or (4) use
              linguistic plays on words or various terms associated with The Trial
              Lawyers College to create or cause confusion as to whether
              Defendants are acting as The Trial Lawyers College.

      Id. at 19. The Preliminary Injunction specifically does not prohibit Defendants

      from:

              (1) re

              Defendants are alumni of Plaintiff and have a historical association
              with Plaintiff; (4) referencing or describing their claimed, but not
              judicially recognized, status as set forth in the ongoing state court
              litigation to challenge the control of the Board; and (5) making


      Id.




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   20. The Court also noted that, at least with regard to Defendants




       Restraining Order and to cause further confusion to recipients as to whether they

       were receiving a message from Plaintiff. Id. at 15.

                                       DISCUSSION



by clear and convincing evidence, that a valid court order existed, that the defendant had

                                                                         Reliance Ins. Co. v.

Mast Const. Co., 159 F.3d 1311, 1315 (10th Cir. 1998) (internal citations omitted). Then,

the burden shifts to the defendant to show that the defendant either complied with the order

or could not comply with the order. Rossi Ventures, Inc. v. Pasquini, No. 11 cv 02838

CMA-BNB, 2012 WL 5949770, at *3 (D. Colo. Nov. 28, 2012). Failure to show clear and

                                                                        injunction is enough

to find civil contempt. Bad Ass Coffee Co. of Hawaii, Inc. v. Bad Ass Coffee Ltd. P ship,

95 F. Supp. 2d 1252, 1255 (D. Utah 2000).

                                         Id. at 1256.

adjudging a person to be in civil contempt for failure to be reasonably diligent and energetic

in attempting to accomplish what was ordered. Id.

       Courts should also use Rule 65 of the Federal Rules of Civil Procedure as guidance

in determining whether a valid order exists and whether the defendant had notice of that

order. See Reliance Ins. Co., 159 F.3d at 1316. Rule 65 requires that the adverse parties

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must have notice of the preliminary injunction. Fed. R. Civ. P. 65(a)(1). Further, every

such order must:



P. 65(d)(1)(A) (C). Additionally, an injunction or TRO is only binding on: (1)




individuals. Fed. R. Civ. P. 65(d)(2)(A) (C). The Court must find that the Preliminary

Injunction was adequately specific and that Defendants had notice of it in order to find

contempt.

        As an initial matter, there is no dispute that Defendants have the requisite knowledge

of the Court O                                            in the court hearings regarding the

TRO and Preliminary Injunction. See, e.g.

Response do they contend they did not have notice of the Preliminary Injunction.

Therefore, notice is not at issue in this Motion. As to the validity of the court order and



   1.

        The first issue for the Court regards the TLC Marks that continued to be displayed

at Thunderhead Ranch until a month after the             Order was filed. Defendants must

                                                            valid court order on preliminary

injunction.                                              , No. 1:06 cv 01235-WDM BNB,

2007 WL 2491856, at *2 (D. Colo. Aug. 29, 2007). Continued display of an infringing

sign is not reasonable, especially where the sign is located at the entrance to a property and

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emphasis was placed on the sign during preliminary injunction proceedings. See id. at *1.

Here, there should be no dispute that the Rule 65 specificity requirements were met. The

        Order on Preliminary Injunction described the reasons the Preliminary Injunction

was granted, stated the terms specifically, and described the acts restrained in detail. The

        Order prohibits

itself as if GSTI was TLC. ECF_46 at 19. In fact, there is a section devoted to discussing

signage at Thunderhead Ranch in the                Order. Id. at 15 16. There is no doubt

Defendants knew of a valid order that required Defendants to take the infringing signs

down as soon as they could obtain an appropriate lift or ladder.

       Plaintiff presented evidence that Defendants disobeyed the Court Order in leaving

the Marks displayed even after Plaintiff filed this Motion. It was not until July 16     six

days after the Motion was filed        that the signs were covered using a tarp and ladder.

Defendants represent that it was the size, weight, location, and method of installation that

made these fixtures difficult to remove sooner. Defendants subtly seem to argue that it was

a reasonable interpretation of the C        Order to delay taking down or covering the signs

because they were unable to uninstall the infringing signs without a professional and they

were unable to attain a professional to do so. See                                  c, 2007

WL 2491856, at *2 (arguing the

                                                                                    was not

reasonable for Defendants to have interpreted the C           Order to allow the infringing

signs to remain displayed for a month after the order was entered    while individuals were

visiting the ranch and could be confused by the infringing signs. See id. (concluding

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                                                        where signs were left hanging at the

entrance to a property). There was no evidence that any Defendant took any action in

regard to the large signs until after the Motion for Contempt was filed. Here, it was clearly

possible to cover the signs in short order after the Motion was filed. Therefore, it was not

reasonably diligent for Defendants to delay doing so since they knew it could be some time

before they could attain a professional to assist in taking down the infringing signs.

Further, Defendant                       t the hearing was that he had not contacted any

professional to assist in the removal of the large signs.

                                                             now that the signs are covered

with a tarp, the Court disagrees. See ECF_57 at 9. Simply because a defendant complies

with the subject court order after a motion for contempt is filed does not mean the defendant

can no longer be held in contempt. See, e.g., Abbasaid, Inc. v. Lo                      , No.

09-cv-00354 JAP/LFG, 2011 WL 13161570, at *4 (D.N.M. Apr. 19, 2011) (explaining that

procedural events occurring after the acts of contempt have no effect on whether such acts

of contempt were committed). It is of no import that Defendants covered the infringing

signs after Plaintiff filed this Motion. While covering the signs after the Motion was filed

may alleviate the C

moot.

        The Court finds that all enjoined Defendants should be held in contempt for the

continued display of infringing signs. None of the Defendants except Defendant Low

appear to have made any efforts to take down or cover the sign. Even Defendant Low did

not make efforts to remove or cover the large signs until after the Motion for Contempt

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was filed.2 Again, while these efforts may alleviate the sanctions, they are not the type of

reasonably diligent and energetic actions that must be taken to prevent a finding of civil

contempt.

    2.                                                     in Communications and Marketing

                                                                                                     ed use of the

TLC Marks in emails and other marketing strategies.                            The Court                   prohibits



                                                                                                   ive, the Court

specifically notes

Marks

                                    Id. at 15. Nevertheless, Defendants are not prohibited from:



         Defendants are alumni of Plaintiff and have a historical association with
         Plaintiff; (4) referencing or describing their claimed, but not judicially
         recognized, status as set forth in the ongoing state court litigation to challenge
         the control of the Board; and (5) making commentary regarding or fair use


Id. at 19. Yet again, the specificity and knowledge requirements of Rule 65 are met here.

         Plaintiff has presented evidence of numerous times when Defendant Parris

referenced GSTI as if it was TLC, and repetitive use of a variation of a protected trademark

can constitute an act of contempt. See Rossi Ventures, Inc., 2012 WL 5949770, at *6. The



2
 Defendant Low did remove some smaller signs at the Ranch in compliance with the Order but failed to contact
professionals to assist in the removal or covering of the larger signs at issue herein. Even after the contempt motion
was filed, co-defendants did not appear to provide any assistance to Defendant Low, who was left to devise a
manner to cover the subject signs.

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emails from Defendant Parris on multiple occasions represented that GSTI was, in fact,

                                                                                           ld

                  The R



reference TLC in their communications. ECF_57 at 3. According to Defendants, because

Defendant Parris references the pending state and federal court proceedings in his

communications when he discusses TLC, he is not using the Marks to market or promote

                                        Id. at 3 6. While Defendants may argue that there

is no conflation occurring in the emails that would lead to confusion as to whether they are,

                                       ,



encompasses the essence of TLC could indicate to alumni that Defendant Parris is trying

to establish the mission and purpose of TLC       not GSTI.    Additionally, the time when

Defendant Parris wrote

                                 se readers about who is the real TLC. Defendant

emails are similar to the video of Defendant Gerald Spence, which was a significant factor



the current Motion for Contempt to consider the factual history and actions which lead up

to the issuance of the injunction. Defendants and, specifically, Mr. Parris assert that

language in the notices and emails acknowledged that the board membership is disputed

and, thus, the language was not in violation of the injunction. Nevertheless, the emails

from Defendant Parris                                   Motion for Contempt [Doc. 52] are

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putting forth his arguments in regard to the pending dispute and, as such, fall within the

                                                              However, Defendant

statement in these emails must be considered in light of his subsequent emails as attached

to            Supplemental Memorandum in Support [Doc. 53]. In these documents,

Defendant Parris steps up his rhetoric and represents himself and other Defendants as the

                           ,                ations to the TLC Board, and calls a special

meeting. While Defendant Parris makes mention of the fact that these actions may be

disputed, he is clearly and definitively purporting Defendants

members in direct violation of the injunction, as will be discussed further below.

       With regard to Plaintiff s second supplemental memorandum supporting its motion

for contempt, Plaintiff indicates concern that Defendants are involved in marketing Trial



                                                                               .     Further,

Defendant Parris did promote Trial Lawyers University when he sent an email to the GSTI

                                                                  s not met its burden to

provide clear and convincing evidence that Trial Lawyers University is acting in concert

or colluding wi                                                                Nor is there

evidence that Trial Lawyers University is competing with or providing similar services to

that of The Trial Lawyers College. The Court does not conclude that the facts alleged in

Plai




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   3.



the way they reference themselves as TLC board members. The Court ordered that




specificity requirements of Rule 65.

        Plaintiff has presented evidence of Defendant Parris violating this portion of the

         O

                                                                      eting would be held

in accordance with the TLC bylaws. This email was shared on the GSTI list-serve. Again,

repetitive use of a variation of a protected trademark can constitute an act of contempt.

Rossi Ventures, Inc., 2012 WL 5949770, at *6. One such email regarding notice of this

special meeting even listed the purported offices held by Defendants. Additionally, when

conversing about the mission and purpose of GSTI, Defendant Parris noted that he wanted




                                                   While other purported board members

may have been listed in the emails, there is no evidence that any Defendants other than

Defendant Parris were affirmatively holding themselves out as TLC Board Members.

        Defendants contend                           email communications always noted

their board membership is disputed. ECF_57 at 7. They also argue that, by Plaintiff

requesting them not to refer to themselves as board members, Plaintiff expects them not to

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dispute the expected state court resolution as to

a board meeting is currently pending in state court. Id. at 8. Yet again, the Court disagrees.

In one sentence Defendant Parris noted that the issue of whether Defendants are board

members is disputed, while in the very next sentence Defendant Parris called them the TLC

board and proceeded to call a board meeting pursuant to the TLC Bylaws.



state court result as to whether Defendants are actually TLC board members. Plaintiff

simply asks the Court to require Defendants to comply with the federal Preliminary

Injunction. This does not seem a difficult task to request. Yet, in emails, Defendant Parris

has failed to comply with the                                                          When

Defendant Parris violates                         by referencing Defendants as TLC board

members, he also



                    Moreover,                        email declaration



               s a sort of willfulness that further supports a finding of civil contempt. For

the aforementioned reasons, the Court concludes Plaintiff has presented ample clear and

convincing evidence that Defendant Parris is violating the valid Order on Preliminary

Injunction. Defendants have not presented clear and convincing evidence of substantial

compliance                            in this respect. Therefore, the Court is justified in

adjudging civil contempt as to Defendant Parris with regard to purporting definitively to



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                               marketing or promoting Defendants as, in fact, the Trial

Lawyers College.

   4. Determining Appropriate Sanctions

       Where civil contempt is found, sanctions are appropriate for two remedial purposes:



                                                                        Bad Ass Coffee Co.

of Hawaii, Inc., 95 F. Supp. 2d at 1256 (quoting

Inc., 972 F.2d 1204, 1211 (10th

compensatory fine must be justified by evidence demonstrating the amount of loss to a

reasonable                          Id. at 1257. This requirement is to avoid awarding

speculative and, therefore, arbitrary awards. Id. (deferring determination of alleged losses

                                                                                      ff had



Notably, though, a lack of actual damages does not prevent the Court from ordering purely

coercive fines.                                          Controllers Org., Local 504, 703

F.2d 443, 445 (10th Cir. 1983) (discussing coercive daily fines and explaining that their



                                , 2007 WL 2491856, at *1 (finding it appropriate to require

defendants to pay plaintiff one hundred dollars for each day defendants were not in

                                                                because the fines could be

totally avoided through compliance wi                     ). It is also appropriate to award



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attorney s fees in a civil contempt issue, even where there is no finding of willfulness. John

Zink Co. v. Zink, 241 F.3d 1256, 1261 62 (10th Cir. 2001).

       Here, Plaintiff has not presented evidence of actual damages. It would, however,

be

Nevertheless, because Defendants have now made efforts to cover the infringing artwork

with tarps, and because Defendant Parris appears to be the only Defendant holding GSTI

out as The Trial Lawyers College and holding the Defendants out as the TLC Board, the

Court does not deem coercive fines necessary at this time.

       As to the question of whether to award attorney s fees, the Court deems it

appropriate to do so. Even where the reason for civil contempt was simply that an

infringing sign was not taken down and a similar design painted on a trailer was not altered,

t

Rocky Mtn. Retreat, Inc, 2007 WL 2491856, at *3. Similarly, just the act of failing to

                                                                                    is enough

                             es are appropriate here. When combined with the other

contemptuous acts

acceptable method to compel                                         Because the undersigned

recommends a finding that all enjoined Defendants are jointly and severally liable for

failure to remove the infringing artwork, all Defendants should pay some portion of the

                                                                                  rris should




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individual contempt accordingly.

                                      CONCLUSION

        For the reasons indicated herein, the undersigned recommends the following:

   1. The Court should find enjoined Defendants in civil contempt for violating the

                                                                          as pertains to the

        infringing artwork that was not removed or covered on the premises of Thunderhead

        Ranch;

   2.

        Order on                                                as pertains to the directive

        not to market or promote GSTI as The Trial Lawyers College or purport definitively



   3. The Court should not find Defendants or any other individual in civil contempt for

        any of the facts alleged pertaining to the new Trial Lawyers University supposedly



        Injunction;

   4. The Court should provide Plaintiff an opportunity to submit an affidavit evincing

        the amount of attorney s fees and expenses accrued in connection with this Motion;

        and

   5.                                                                           and proper

        according to the joint and several liability for contemptuous conduct on the part of

        all enjoined Defendants for failing to remove the infringing artwork and the

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      individual contemptuous conduct of Defendant Parris in his communications

      regarding the Trial Lawyers College.

      Pursuant to Local Civil Rule 74.1(b) of the Local Civil Rules for the United States

District Court for the District of Wyoming:

      A party may object to a Magistrate Judge's proposed findings and
      recommendations on any matter referred pursuant to 28 U.S.C. §
      636(b)(1)(B) within fourteen (14) days after service of the Magistrate
                                                                     ections shall
      specifically identify the portions of the proposed findings and
      recommendations to which objections are made and the basis for such
      objections. The District Judge assigned to the case will conduct a de novo
      review of the objections in accordance with 28 U.S.C. § 636(b)(1). Any
      objections, response thereto and reply, if any, shall be subject to the page
      limitations imposed on dispositive matters under Local Rule 7.1(b)(2)(B) and
      (C).

                                                           ndings and recommendations

shall comply with the Local Civil Rules and 28 U.S.C. § 636(b)(1) accordingly.



      Dated this 28th day of August, 2020.




                                  MARK L. CARMAN
                                  UNITED STATES MAGISTRATE JUDGE




                                              20
